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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Fnu Brunhilda,                                          Case No.: 21-CV-1299 (PJD/DTS)

                       Plaintiff,

 vs.                                                     NOTICE OF LIMITED
                                                           APPEARANCE
 Purdue University Global and Indiana
 Commission of Higher Education,

                       Defendants.


        PLEASE TAKE NOTICE that the undersigned, Kyle R. Kroll of Winthrop &

Weinstine, P.A., enters his appearance in the above-entitled action on behalf of Plaintiff,

Fnu Brunhilda (“Plaintiff”), per Court permission, for the limited purposes of assisting and

representing Plaintiff at the hearing on Defendants’ pending motions to dismiss.

        Plaintiff shall continue to be individually responsible for all other scheduled matters

by Court order or operation of the Federal Rules of Civil Procedure including, but not

limited to, appearances at hearings or depositions, and submitting responses to motions and

discovery requests.

Dated: December 29, 2021                           WINTHROP & WEINSTINE, P.A.

                                                   s/ Kyle R. Kroll
                                                   Kyle R. Kroll, #0398433
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                                                   (Through the Pro Se Project)
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